                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION



LANCER TISDALE,                                    )
                                                   )       Case No. 3:20-cv-00961
       Plaintiff,                                  )
v.                                                 )      Judge Aleta A. Trauger
                                                   )
NATIONAL KWIKMETAL                                 )
SERVICE, LLC                                       )       JURY DEMAND
           Defendant.                              )

     UNOPPPOSED MOTION TO EXTEND DEADLINE TO ANSWER COMPLAINT

       The Defendant, sued as National Kwikmetal Service, LLC, pursuant to LR 7.01, moves this

Court for an extension of the deadline to answer the Complaint. The deadline is currently set for

February 4, 2021. Counsel for Defendant has been impacted by the Christmas bombing and

therefore requests an extension of the deadline to answer until February 19, 2021. Defendant also

asks that the Initial Case Management Conference, currently set for January 25, 2021, at 1:30 p.m.

be moved to a later date soon after the proposed Answer deadline. Counsel for the Plaintiff has been

consulted and does not object to this extension.

       Respectfully submitted, this the 14th day of January, 2021.


                                                       /s/ Brent A. Morris
                                                       Brent A. Morris, BPR No. 24621
                                                       Wimberly Lawson Wright Daves & Jones
                                                       Attorney for the Defendant(s)
                                                       214 Second Avenue North, Suite 3
                                                       Nashville, Tennessee 37201
                                                       (615) 727-1000
                                                       bmorris@wimberlylawson.com




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                                  CERTIFICATE OF SERVICE

I, Brent A. Morris, hereby certify that I electronically filed the foregoing with the Clerk of the Court
using the CM/ECF system which will automatically send email notification of such filing upon
Christopher V. Boiano, this the 14th day of January, 2021.


                                                       /s/ Brent A. Morris



Christopher V. Boiano
Boiano & Boiano, LLC
115 Shivel Dr.
Hendersonville, Tennessee 37075
P: 615-991-7117
F: 615-296-0390
christopher@boianolaw.com
Attorney for Plaintiff Lancer Tisdale




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